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  IT IS ORDERED as set forth below:



  Date: December 26, 2018
                                                  _________________________________

                                                            Paul W. Bonapfel
                                                      U.S. Bankruptcy Court Judge
 _______________________________________________________________




                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

       IN RE:
                                                           CASE NO. 17-72345-PWB
      SOLID ESTATE INVESTMENTS LLC,
                                                           CHAPTER 11
            Debtor.


      ORDER AND NOTICE CONDITIONALLY APPROVING DISCLOSURE STATEMENT,
       FIXING TIME FOR FILING ACCEPTANCES OR REJECTIONS OF THE PLAN, AND
      FIXING TIME FOR FILING OBJECTIONS TO THE DISCLOSURE STATEMENT AND
                          TO CONFIRMATION OF THE PLAN
                                      AND
      NOTICE OF HEARING ON FINAL APPROVAL OF THE DISCLOSURE STATEMENT
                 AND THE HEARING ON CONFIRMATION OF THE PLAN

            The Debtor filed a chapter 11 plan [Doc. 41] and disclosure statement [Doc. 42] on

      December 19, 2018. It is

            ORDERED AND NOTICE IS HEREBY GIVEN that:
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           A. The disclosure statement [Doc. 42] filed by the Debtor on December 19, 2018, is

              conditionally approved.

           B. February 5, 2019 is fixed as the last day for filing written acceptances or

              rejections of the first amended chapter 11 plan.

           C. February 5, 2019 is fixed as the last day for filing and serving written objections

              to the disclosure statement and confirmation of the plan. Any party objecting to

              the final approval of the disclosure statement or objecting to confirmation of the

              Debtor’s plan must attend the hearing. Written objections shall be filed with the

              Clerk, United States Bankruptcy Court, Room 1340, 75 Ted Turner Drive, SW,

              Atlanta, Georgia 30303, or by using the Court’s electronic case filing system

              (“CM/ECF”). For information on electronic filing, consult the Court’s website at

              www.ganb.uscourts.gov. Any objection must also be served upon counsel for the

              Debtor.

           D. The Court shall hold a hearing on final approval of the disclosure statement and

              confirmation of the plan on February 12, 2019, at 10:00 a.m., in Courtroom

              1401, U.S. Courthouse, 75 Ted Turner Drive, SW, Atlanta, Georgia 30303.

           E. The Debtor shall mail copies of this Order, the plan, the disclosure statement, and

              a ballot to creditors and parties in interest, within five days of the entry date of

              this Order and file a certificate of service showing same.

                                        END OF ORDER
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